APPEALS ACCEPTED FOR REVIEWDiscretionary appeal accepted. Sua sponte, cause consolidated with 2018-0181, In re Adoption of B.I., 2018-0350, In re Adoption of 'B.I., and 2018-0351, In re Adoption of 'B.I., and briefing in Nos. 2018-0181, 2018-0182, 2018-0350, and 2018-0351 consolidated. The parties shall file four originals of each of the briefs permitted under S.Ct.Prac.R. 16.02 through 16.04 and include all numbers on the cover pages of the briefs. The parties shall otherwise comply with the requirements of S.Ct.Prac.R. 16.01 through 16.04.O'Connor, C.J., and O'Donnell, J., dissent in part and would accept the cause on proposition of law No. II only.